giy2078 Print

Subject: RE: are you in?
From: _—Allson Kotler (akotler@Berettausa.com)
To: PWilkin@Boerettausa.com;

Ce: pawski4 @yahoo.com;
Date: Monday. August 22, 2018 3:10.PM

Paul —

Tinformed you that Jeff Reh, General Counsel, is now investigating the matter, To that point, he will be m Gallatin tomorrow. AsI
stated before you are welcome to reach out to him at any time to discuss with him directly.

Thanks!

Allson L, Kotler, SPHR, SHRM-SCP
Direcior of Human Resources

Beretta U.S.A. Corp.

17601 Beretta Drive, Accokeek, MD 20607
€T} (301) 283-2191 Ext. 1311

(F) (301} 283-5113

Q@DBERETTA

— J

From: Paul Wilkin

Sent: Monday, August 22, 2016 4:07 PM’
To: Alison Kotler <akotler@Berettausa.com>
Ce: pawski4@yahoo.com

Subject: RE: are you in?

No,-I wanted to inquire, It has been 2.5 weeks now since I had a very serious complaint. I feel at this point
that I am being ignored or swept under the rug. I wish to talk about this.

Pani Wilkin
ASQ CQT,CQE,CRE

Beretta U.S.A. Corp.
1399 Gateway Dr, Gallatin TN 37066
(T) (615) 527-7822 x 1517

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1 SAIZ016 Print

From: Alison Kotler

Sent: Monday, August 22, 2016 2:40 PM:
To: Paul Wilkin <PWilkin@Beretiausa.com>
Subject: RE: are you in?

1 was unexpectedly out ofthe office last Friday, I hope that I didn’t miss something urgent. Please keep in mind that Robin and Ali
Weston (HR Generalist in MD) can always assist you in my absence.

Thanks!

Alizan L. Kotler, SPHR, SHRM-SCP
Director of Human Resources

Beretta U.S.A. Corp.

17601 Beretta Drive, Accokeek, MD 20607

(T) (301) 283-2191 Ext. 1311
(F) (301) 283-5113

QD BERETTA

Me ThA OWE FaThiom

Q=J9

From: Paul Wilkin

Sent: Friday, August 19, 2016 4:50PM:

To: Alison Kotler < >
Subject: are you in?

Are you still in the office?
Paul Wilkin
ASQ CQT,CQE.CRE

Beretta U.S.A. Corp.
1399 Gateway Dr, Gallatin TN 37066
(T) (615) 527-7822 x 1517

Attachments

» image001.jpg (18.59KB)

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